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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

CHERYL GREEN, individually and
derivatively,

      Plaintiff,                              Case No. 3:18-cv-02393-TKW-HTC

v.

MALINDA FIVEASH, HKD
PROPERTIES, INC., a Florida
Corporation, and HILL-KELLY
DODGE, INC., a Florida Corporation,

      Defendants.

                      JOINT NOTICE OF SETTLEMENT

      Plaintiff, CHERYL GREEN and Defendants, MALINDA FIVEASH, HKD

PROPERTIES, INC. and HILL-KELLY DODGE, INC. (collectively the "Parties")

notify the Court that a settlement has been reached in this matter. The Parties

anticipate the settlement will finalized within the next 60 days and

shortly thereafter, the Parties will submit a stipulation for dismissal of this action,

with each party to bear their own fees and costs. In the event the settlement is not

concluded within 60 days, the Parties will notify the Court with their expected

timetable to either finalize the settlement or withdraw this Notice.

      Respectfully submitted this 11th day of December, 2019.
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